
PER CURIAM
Granted. We find the court of appeal erred in construing relator's appeal as being limited to the September 26, 2017 judgment denying the motion for new trial. As explained by the dissenting judge in the court of appeal, the arguments in relator's appellate brief are broad enough to encompass both the September 7, 2017 final judgment granting summary judgment and dismissing relator's suit with prejudice as well as the September 26, 2017 interlocutory judgment denying the motion for new trial.
It is well settled that appeals are favored in the law and should be maintained unless a legal ground for dismissal is clearly shown. U.S. Fire &amp; Insurance Co. v. Swann , 424 So.2d 240 (La. 1982). In the absence of any clear indication that relator intended to limit his appeal to the September 26, 2017 interlocutory judgment, we find the court of appeal erred in converting relator's timely appeal to an application for supervisory writs.
Accordingly, the September 12, 2018 judgment of the court of appeal is vacated and set aside. Relator's appeal is reinstated. The case is remanded to the court of appeal for consideration of the appeal on the merits.1

Because of our action, we pretermit any consideration of the remaining assignments of error in relator's writ application to this court, and we express no opinion on the merits.

